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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                               CAMDEN VICINAGE


  AARON SIEGEL, JASON COOK,                       Hon. Renée Marie Bumb, U.S.D.J.
  JOSEPH DELUCA, NICOLE CUOZZO,                   Hon. Ann Marie Donio, U.S.M.J.
  TIMOTHY VARGA, CHRISTOPHER
  STAMOS, KIM HENRY, AND                          Docket No. 22-CV-7463
  ASSOCIATION OF NEW JERSEY RIFLE
  AND PISTOL CLUBS, INC.,
                                                       CIVIL ACTIONS
       Plaintiffs,                                (ELECTRONICALLY FILED)

  v.

  MATTHEW J. PLATKIN, in his official
  capacity as Attorney General of the State of
  New Jersey; and PATRICK CALLAHAN,
  in his official capacity as Superintendent of
  the New Jersey State Police,

       Defendants.



  RONALD KOONS; NICHOLAS                          Hon. Reéne Marie Bumb, U.S.D.J.
  GAUDIO; JEFFREY M. MULLER; GIL                  Hon. Ann Marie Donio, U.S.M.J.
  TAL; SECOND AMENDMENT
  FOUNDATION; FIREARMS POLICY                     Docket No. 22-CV-7464
  COALITION, INC.; COALITION OF
  NEW JERSEY FIREARM OWNERS; and
  NEW JERSEY SECOND AMENDMENT
  SOCIETY,
  Plaintiffs,
  v.
  MATTHEW J. PLATKIN, in his official

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  capacity as Attorney General of the State of
  New Jersey; and PATRICK CALLAHAN,
  in his official capacity as Superintendent of
  the New Jersey State Police,
  Defendants.


              Attorney Declaration of Angela Cai In Support Of
   Defendants’ Opposition To Plaintiffs’ Motions For Preliminary Injunction


 I, ANGELA CAI, of full age, hereby declare as follows:

 1. I am employed as Deputy Solicitor General by the State of New Jersey,
    Department of Law and Public Safety. I provide this Declaration in support of
    Defendants’ Opposition to Plaintiffs’ Motion for Preliminary Injunction.

 2. Attached to this Declaration are true and accurate copies of the below Exhibits
    cited in the State’s Brief In Opposition.

 3. To accommodate technological constraints of CM/ECF, the exhibits are divided
    into three volumes.

 4. Exhibit 1 to 28 are the same exhibits as those filed to my December 30, 2022
    Declaration In Support of Defendants’ Opposition to Plaintiffs’ Motion for a
    Temporary Restraining Order.

 5. For the Court’s ease of reference, where applicable, I list where the same
    exhibits appear as attached exhibits to a witness declaration submitted in
    support of Defendant’s Opposition to Preliminary Injunction.


 Exhibits Volume 1:

   1.   P.L. 2022 ch. 131, A4769/S3124, An Act concerning the sale and possession
        of firearms and supplementing and amending various parts of the statutory
        law.
   2.   Compilation of:

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        a.   Order, D.E. 41, Christian v. Nigrelli, No. 22-2987 (2d Cir. Dec. 12,
             2022);
        b.   Order, D.E. 75, Antonyuk v. Hochul, No. 22-2908 (2d Cir. Dec. 7,
             2022);
        c.   Order, D.E. 53, Hardaway v. Nigrelli, No. 22-2933 (2d Cir. Dec. 7,
             2022).
   3.   Transcript of Preliminary Injunction Hearing, Corbett v. Hochul, 1:22-cv-
        5867-LGS (S.D.N.Y. Nov. 29, 2022).
   4.   63 Proceedings and Acts of the Maryland General Assembly 338, § 5 (June
        15-July 3, 1773).
   5.   1870 Tex. Gen. Laws 63.
        A version of the same law can also be found in Rivas Decl. Ex. J and
        Charles Decl. Ex. 26.
   6.   1786 Va. Laws 25.
        A version of the same law can also be found in Rivas Decl. Ex. D.
   7.   Gen. Digest of the Ordinances & Res. of the Corp. of New Orleans 371
        (1831).
   8.   1869-70 Tenn. Pub. Acts 23.
        A version of the same law can also be found in Rivas Decl. Ex. M and
        Charles Decl. Ex. 25.
   9.   Art. 320, Tex. Act of April 12, 1871.
        A version of the same law can also be found in Rivas Decl. Ex. K.
   10. Mo. Rev. Stat. 1879, at 224 (§ 1274).
        A version of the same law can also be found in Rivas Decl. Ex. O.
   11. 1859 Conn. Acts 62, ch. 82, § 5.
   12. 1867 Kans. Sess. Laws 25.
   13. 1771 N.J. Laws 344, §1.
        A version of the same law can also be found in Hartog Decl. Ex. D

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       and in Klett Decl. Ex. F.

   14. 1865 La. Extra Acts 14, No. 10 § 1.
   15. 1876 Iowa Acts 142, ch. 148, § 1.
   16. 1929 Iowa Acts 90, § 30.
   17. 1919 Me. Laws 193.
   18. Ark. Rev. Stat. § 13, p. 280 (1838).
       A version of the same law can also be found in Rivas Decl. Ex. I.
   19. 1839 Ala. Acts no. 77, § 1.
   20. 1821 Tenn. Acts ch. 13, § 1.
   21. Ian Ayres & Spurthi Jonnalagadda, Guests with Guns: Public Support for
       “No Carry” Defaults on Private Land, 48 J. L. Medicine & Ethics 183, Table
       A4 (2020).
   22. 1873 Ga. Code 818, § 4528.
       A version of the same law can be found in Charles Decl. Ex. 27.
   23. Fourth Annual Report of the Board of Commissioners of the Central Park
       106 (1861).
   24. Acts of Assembly Relating to Fairmount Park 18 (1870).
   25. Michael John Sullivan, The Revised Ordinance of the City of St. Louis,
       Together with the Constitution of the United States, Constitution of the State
       of Missouri, the Scheme for the Separation of the Governments of the City
       and County of St. Louis, the Charter of the City, and a Digest of the Laws
       Applicable to the City 635 (1881), § 3.
   26. Egbert Jamieson and Francis Adams, The Municipal Code of Chicago,
       Comprising the Laws of Illinois Relating to the City of Chicago and the
       Ordinances of the City Council, Codified and Revised 391 (1881). Art
       XLIII, § 1690.
   27. Annual Reports of the City Officers and City Boards of the City of Saint
       Paul 689 (1889).


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   28. W.W. Thompson, A Digest of the Acts of Assembly Relating To, and the
       General Ordinances of the City of Pittsburgh, From 1804 to Jan. 1, 1897 at
       496 (2d Ed. 1897).
   29. Excerpt from William Blackstone, Commentaries on the Laws of England,
       3d. (10th ed. 1787).
   30. Excerpt from William Griffith, A Treatise on the Jurisdiction and
       Proceedings of Justices of the Peace in Civil Suits in New Jersey (1813).
   31. Excerpt from John Locke, Second Treatise of Government (1690).
   32. 1715 Md. Laws, ch. 26 § 7, as supplemented by 1766 Md. Laws ch. 6, at 90.
   33. 1721 Pa. Act ch. 426 § 3, printed in Mitchell & Flanders, The Statutes at
       Large of Pa. 1682 to 1801, vol.2, at 255.
   34. 1763 N.Y. Law ch. 1233 §1, printed in Laws of N.Y., 1691 to 1771, vol. 2,
       at 442.
       A version of the same law can be found in Charles Decl. Ex. 9.
   35. 1867 Tex. Act Vol, 20, p. 90, at art. 6510, printed in Paschal, A Digest of the
       Laws of Tex. Ann., vol. 2, at 1321.
   36. 1893 Ore. Act S.B. 15, § 1, at 79.
   37. La. R.S. 821, § 1809, printed in R.H. Marr, Ann. Rev. Stat. La., vol. 1, at
       600 (1915).
   38. 1870 Tenn. Acts. ch. 13.
   39. 1996 La. Sess. Law. Serv. 1st Ex. Sess. Act 4 (S.B.2), R.S. 40.1379.3(O).
   40. Bill 3730, 1996 S.C. Assemb., Rev. to § 23-31-210(M)(10).
   41. Excerpt from 1564 Stat. King Henry III.
   42. Wingate, An Exact Abridgement of All Statutes In Force & Use From The
       Beginning Of Magna Carta Until 1641 (1666), at 591 at § 9.
   43. 1776 Del. Const. art. 28.
   44. Excerpts from Benjamin Vaugahn Abbott, Judge and Jury: A Popular
       Explanation of Leading Topics in the Law of the Land (1880).
   45. 1874 Mo. Laws at 43, s. 1.
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       A version of the same law can also be found in Charles Decl. Ex. 20
   46. The Norman Transcript, (Norman, Okla. Terr), Vol. 2, No. 5, Ed. 1 (Nov.
       22, 1890).
   47. The Missouri Republican, (St. Louis, Mo.) (Nov. 20, 1872).
   48. The Moniteau Journal (California, Mo.) (Oct. 3, 1872).
   49. Collected Venue Policies, NJ.
       a.   Zoological Society of New Jersey, Inc., Zoo Rules,
            https://turtlebackzoo.com/zoo-rules
       b.   Adventure Aquarium, Policies,
            https://www.adventureaquarium.com/plan/aquarium-policies
       c.   Camden County Library Customer Behavior Policy,
            https://tinyurl.com/ytvnfk62;
       d.   Old Bridge Library, Acceptable Behavior Policy,
            https://www.oldbridgelibrary.org/library-info/library-
            policies/acceptable-behavior-policy/.
       e.   MetLife Stadium in East Rutherford,
            https://www.metlifestadium.com/guest-services/guest-policies;
       f.   Prudential Center Visitor Guide, https://prucenter.com/a-z-guide#;
       g.   PNC Bank Arts Center FAQs, http://banksartscentre.com/faq/;
       h.   NJPAC
            https://www.njpac.org/visit/faq/#:~:text=NJPAC%20property%20inclu
            des%20all%20buildings,or%20hazardous%20devices%20or%20weapo
            ns (toggle to “are there any prohibited items”)
       i.   Regal Movie Theaters,
            https://www.regmovies.com/static/en/us/admittance-procedures;
       j.   Medieval Times: https://www.medievaltimes.com/experience/faq
            (toggle to last FAQ)
       k.   CURE Insurance Arena in Trenton,
            https://www.cureinsurancearena.com/arena-policies;
       l.   State Theatre in New Brunswick, https://www.stnj.org/about/policies;
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       m. Boardwalk Hall Arena in Atlantic City,
          https://www.boardwalkhall.com/plan-your-visit/a-z-guide;
       n.   Borgata Event Center in Atlantic City,
            https://borgata.mgmresorts.com/en/entertainment/event-center.html;
       o.   Bergen Performing Arts Center in Englewood,
            https://www.bergenpac.org/plan-your-visit/faqs;
       p.   Levoy Theatre in Millville, https://levoy.net/policies/;
       q.   Wellmont Theatre in Montclair,
            https://wellmonttheater.com/venue/theater-policies-and-faqs/;
       r.   Mayo Performing Arts Center in Morristown,
            https://www.mayoarts.org/tickets/policies;
       s.   South Orange Performing Arts Center in South Orange, “House
            Policies” https://www.sopacnow.org/box-office/
       t.   Liberty Science Center in Jersey City, Code of Conduct,
            https://lsc.org/visit/health-accessibility-and-safety/code-conduct
       u.   Six Flags Great Adventure in Jackson, Park Policies,
            https://www.sixflags.com/greatadventure/plan-your-visit/park-policies
       v.   Red Bull Arena, Harrison, Prohibited Items & Bag Policy,
            https://www.newyorkredbulls.com/redbullarena/policies
   50. Excerpts from R. Rosenzweig & E. Blackmar, THE PARK AND THE
       PEOPLE: A HISTORY OF CENTRAL PARK (Cornell Univ. Press 1992)


 Exhibits Volume 2:
   51. 1789 Mass. Acts ch.28, at 438.
   52. 1895 Mich. No. 436 Sec. 44, at 596.
   53. 1905 Minn. 620, Sec. 53
   54. 1917 Wisc. Ch. 668, at 1243 Sec. 29.57(4)
   55. 1921 N.C. Public Laws & Res. ch. 6 § 3, at 54.
   56. 1937 N.J. Rev. Stat. 32:14-13.1(8).
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   57. 1875 Laws & Ord. Governing Village of Hyde Park at 310, § 6.
   58. 1883 Rev. Ord. of the City of Danville, ch.19 § 4, at 83.
   59. Tower Grove Park of the City of St. Louis 117 (1883)
   60. Rev. Ordinances of Salt Lake City 248, ch. 27 § 6 (1888)
   61. Laws & Ordinances for the Gov't of the Mun. Corp. of the City of
       Williamsport, Pa. 141 (1891)
   62. Park Ordinances, Springfield, Mass. (1891)
   63. Compiled Ordinances of the City of Grand Rapids 163, § 432 (1907)
       (enacted 1891, amended 1892 & 1897).
   64. 3rd Ann. Rep. of the Park Comm'rs of the City of Lynn 23 (1891).
   65. Laws & Ordinances of the City of Peoria, Illinois 667 (1892).
   66. Mun. Code of the City of Spokane, Wash. 123 (1903) (enacted 1892).
   67. Charter of the City of Wilmington, Rules and Regulations of the Board of
       Park Commissioners, Part VII, § 7 (1893).
   68. Rev. Ordinances of the City of Canton, Ill. 240 (1895).
   69. Gen. Ordinances of the City of Indianapolis 648, § 1971 (1904) (enacted
       1896).
   70. Digest of the Acts of Assembly Relating to & the Gen. Ordinances of the
       City of Pittsburgh 496 (1897) (enacted 1893).
   71. Digest of the Laws & Ordinances for the Gov't of the Mun. Corp. of the
       City of Reading, PA 240 (1897).
   72. Rev. Ordinances of the City of Boulder, CO 157 (1899).
       A version of the same law can also be found in Rivas Decl. Ex. X.
   73. General Municipal Ordinances of the City of Oakland, Cal., Addendum at
       15 (1909).
   74. The Code of City of Birmingham, Alabama 662 (1917).
   75. Firearms Regulations in the National Parks, 1897-1936 (NPS 2008).


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   76. Sen Yuan Wu, N.J. Pop. 1790 to 2010, Div. Labor Market & Demographic
       Rsch. (Dec. 2010).
   77. 2021 Population Density: N.J. Counties, U.S. Census Bureau, Pop. Div.
       (Apr. 2022), prepared by N.J. Dept. Labor & Workforce Dev’t.
   78. 1874 Mo. Laws 43 (§ 1)
   79. 1883 Mo. Laws 76 (§ 1)
       A version of the same law can be found in Charles Decl. Ex. 22.
   80. 1889 Ariz. Sess. Laws 17 (§ 3)
       A version of the same law can be found in Charles Decl. Ex. 28.
   81. 1890 Okla. Sess. Laws 496 (§ 7)
       A version of the same law can also be found in Rivas Decl. Ex. P and
       Charles Decl. Ex. 29.
   82. 1903 Mont. Laws. 49-50 (§ 3)
   83. M. Kevane & W. Sundstrom, Development of Public Libraries in the U.S.,
       1870-1930, Information & Culture, Vol 49, no. 2 (2014).
   84. Pop. of Mass. by Counties & Minor Civil Divs., Census Bulletin (Nov. 8,
       1990).
   85. 1746 N.J. Laws ch. 102.
   86. 1797 N.J. Laws (R.S. 572), at 367.
   87. 1874 N.J. Laws (P.L. 1871, p.109).
   88. G. Fenich, A Chronology of (Legal) Gaming in the U.S., Gaming Rsch &
       Rev. J, vol.3, Iss.2 (1996).
   89. Report & Recommendations of the Governor’s Advisory Commission on
       Gambling, Jun. 30, 1998.
   90. Port Authority of NY & NJ, Dec. 2021 Traffic Report, Aviation Dep’t,
       https://www.panynj.gov/airports/en/statistics-general-
       info/Monthly_Airport_Activities.html.



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   91. Caroline Norris, A History of Madness: Four Venerable Virginia Lunatic
       Asylums, Virginia Magazine of History & Biography, Vol. 125, Issue 2
       (2017).
   92. 1776 N.C. Sess. Laws 168.
   93. 1800 Ga. Laws 428.
   94. 1837 Md. Acts 108.
   95. 1868 Oh. Supp. Rev. Stat 13.
   96. 1872 Wisc. Rev. Stat 1960.
   97. 1872 Conn. Acts 108.
   98. 1872 Or. Acts 26.
   99. 1873 S.C. Rev. Stat. 404.
   100. 1887 W.Va. Code, ch. 148, § 7.


  Exhibits Volume 3:
   101. 1881 Kan. Sess. Laws 92, § 23.
   102. 1875 Ark. Acts 156.
   103. 1847 Va. Laws 129.
   104. 1868 W. Va. Code 153.
   105. 1872 Portland Ord. No. 1108.
   106. 1813 Ky. Acts 10.
   107. 1813 La. Acts 172.
        A version of the same law can also be found in Rivas Decl. Ex. H.
   108. 1819 Ind. Acts 39.
   109. 1838 Va. Acts 76.
   110. 1859 Ohio Acts 56.
   111. 1861 Ga. Laws 859.

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   112. 1835 Mass. Rev. Stat., ch. 134, § 16.
        A version of the same law can also be found in Rivas Decl. Ex. E
   113. 1838 Terr. of Wis. Stat. § 16.
   114. Me. Rev. Stat., ch. 169, § 16 (1840).
   115. Mich. Rev. Stat., ch. 162, § 16 (1846).
   116. Excerpts from M. Dalton, The Country Justice (1690).
   117. Terr. of Minn. Rev. Stat., ch. 112, § 18.
   118. 1854 Ore. Stat. ch. 16, § 17.
   119. 1857 D. C. Rev. Code ch. 141, § 16.
   120. 1860 Pa. Laws p. 432, § 6; § 8.
   121. 1844 Miss. Law p. 182, Art. 16, § 1, in Anderson Hutchinson, Code of
        Mississippi, from 1798 to 1848, 182 (1848).
   122. 1856-1857 N.C. Sess. Laws 34, Pub. Laws, An Act Entitled “Revenue,” ch.
        34, § 23, pt. 4.
   123. 1866 Ga. Laws p. 27-28, Title VI, No. 41.
   124. Rev. Code of Alabama, p. 169, ch. 3, § 10 (1867)
   125. 1867 Miss. Laws 327-28, An Act To Tax Guns And Pistols in The County
        Of Washington, ch. 249, § 1.
   126. George W. Hess, Revised Ordinances of the City of Evanston, 131-132
        (1893).
   127. 1895 Neb. Laws 210, Laws of Nebraska Relating to the City of Lincoln, Art.
        XVI, § 6.
   128. 1902-04 Va. Acts 155-157, An Act to Raise Revenue for Support of the
        Government and Public Free Schools, sched. B, § 6, Tangible Personal
        Property, Eighteenth.
   129. Orville Park, Park’s Annotated Code of the State of Georgia 1914, Penal
        Code, Article 3, Carrying pistols without license, § 348(a)-(d).
   130. Ohio Law, p. 633, §§ 24-25 (1884)

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   131. Mass. Law, p. 479-484, ch. 22, §§ 1-10 (1776)
   132. 1777 Pa. Laws 110-113.
   133. Va. Act of May 5, 1777, ch. 3.
   134. Excerpt from Bernard Schwartz, The Bill of Rights: A Documentary
        History, Vol, 2, at 662 (1971).
   135. Excerpt from Debates & Proc. in the Convention of the Commonwealth of
       Mass. Held in the Year 1788 (1856).
   136. Charles C. Branas, SeungHoon Han, and Douglas J. Wiebe, Alcohol Use
        and Firearm Violence, 38 Epidemiologic Rev. 32, 40-43 (2016).
   137. Jonathan Jay, Alcohol Outlets and Firearm Violence: a Place-Based Case–
        Control Study Using Satellite Imagery and Machine Learning, Inj. Prev. 61,
        64 (2019).
   138. Pamela J. Trangenstein et al., Outlet Type, Access to Alcohol, and Violent
        Crime, 42 Alcohol Clin. Exp. Re. 2234, 2241 (2018).
   139. Matthew Miller et al., ‘Road rage’ in Arizona: Armed and Dangerous, 34
        Accident Analysis and Prevention, 807, 811 (2002).
   140. Arlin J. Benjamin Jr., Sven Kepes, & Brad. J. Bushman, Effects of Weapons
        on Aggressive Thoughts, Angry Feelings, Hostile Appraisals, and
        Aggressive Behavior: A Meta-Analytic Review of the Weapons Effect
        Literature, 22 Personality & Social Psych. R. 347, 359 (2018).
   141. David Hemenway, Chloe Shawah, & Elizabeth Lites, Defensive gun use:
        What can we learn from news reports?, 9 Injury Epidemiology 19, 27
        (2022).
   142. David Hemenway, Deborah Azrael, & Matthew Miller, Whose guns are
        stolen? The epidemiology of Gun theft victims, 4 Injury Epidemiology 11,
        14 (2017).
   143. John J. Donohue et al., More guns, more unintended consequences: the
        effects of right-to-carry on criminal behavior and policing in U.S. cities,
        Nat’l Bureau of Econ. Research, Working Paper Series, Working Paper
        30190, at 29, http://www.nber.org/papers/w30190.


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   144. D. Hemenway & S.J. Solnick, The epidemiology of self-defense gun use:
        Evidence from the National Crime Victimization Surveys 2007–2011, 79
        Preventative Medicine 22, 27 (2015).
   145. John J. Donohue, Abhay Aneja, & Kyle D. Weber, Right-to-Carry Laws and
        Violent Crime: A Comprehensive Assessment Using Panel Data and a State-
        Level Synthetic Control Analysis, 16 J. Empirical L. Studies 198, 240 (April
        2019).
   146. Michael Siegel et al., Easiness of Legal Access to Concealed Firearm
        Permits and Homicide Rates in the United States, 107 AJPH Research 1923,
        1929 (2017).
   147. 1875 Wyoming Terr. Acts ch.52, §1.
   148. Code of City of Lynchburg, Va. Ch. XIX, § 20 (1887).
   149. 1869 N.M. Gen Laws ch.32, at 313.
   150. A. Holgersson & U. Bjornstig, Mass-casualty attacks on public
        transportation, J Transp. Security 7:1–16 (2014).
   151. 1795 Mass Gen Law ch.26, § 2.
   152. 1686 N.J. Laws, ch. 9, in The Grants, Concessions, and Original
        Constitution of the Province of New Jersey, at 289–90 (2d ed. 1881).


         I declare that the foregoing statements made by me are true. I am aware that
  if any of the foregoing statements made by me are willfully false, I am subject to
  punishment.

         I further certify that on February 13, 2023, I electronically filed the foregoing
  Declaration and Exhibits with the Clerk of the United States District Court for the
  District of New Jersey. Counsel for all parties are registered CM/ECF users and will
  be served via CM/ECF.

                                      By: /s/ Angela Cai
                                          Angela Cai
                                          Deputy Solicitor General
  February 13, 2023


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